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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                 NO. 4:16CR00233-02 JLH

ROBERT LAMONT BROWN                                                                DEFENDANT

                                            ORDER

       Robert Lamont Brown has filed a motion to appeal the detention order entered by the

magistrate judge. The review is de novo under 18 U.S.C. § 3145(b). The Court orders the

government to respond to the motion on or before November 23, 2016, and state whether it wishes

to present additional evidence. The defendant’s reply will be due on November 30, 2016, and

should state whether the defendant wishes to present additional evidence. If either party wishes to

present additional evidence, the Court will schedule a hearing.

       IT IS SO ORDERED this 16th day of November, 2016.



                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
